
Peck J.
delivered the opinion of the court.
It is not questioned but that Gilliam was bound to pay for medical services rendered to the slave, being the property of Gilliam for one year under the hire (4 Haywood, 11). The money advanced by Hord was so much paid, laid out, and expended, for the use of Gilliam.
Neilson is the plaintiff in fact, and because Hord had advanced him so much money, he is named in the warrant as the person for whose benefit or use the suit is brought, or in other words, he is designated as the person *475to lake the money when recovered. It is a mistake to , TT . i it* .m • • . suppose that Hord is the real plaintiff; it is not against law or morality to associate the name of Hord, as is done in this case, with that of the plaintiff.
To make the whole merits of the claim of Neilson to depend upon the naming of Hord as the beneficiary in the judgment when recovered, was an error in the judge; for which, the judgment must be reversed.
Judgment reversed.
